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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-23938-CIV-SCOLA
  BARBARA ALEXIS, and others,

         Plaintiffs,
  v.

  NOMI HEALTH, INC., a Delaware Corporation, and
  MEDX STAFFING INC., a Utah Corporation,

        Defendants.
  ____________________________/

  PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO STAY DISCOVERY AND
    PRETRIAL DEADLINES PENDING RESOLUTION OF MOTION TO COMPEL
                             ARBITRATION

         Plaintiffs, BARBARA ALEXIS, et al., by and through their undersigned counsel, hereby

  file their response to Defendants’ Motion to Stay Discovery and Pretrial Deadlines Pending

  Resolution of Motion to Compel Arbitration and states as follows:

         Plaintiffs do not object to a stay pending the resolution of Defendants’ Motion to Compel

  Arbitration or, in the alternative, to Dismiss for Failure to State a Claim (DE 15). Plaintiffs do note

  two issues for the court. First, Defendants have only produced signed agreement for 46 of the 57

  Plaintiffs. The following Nine (9) Plaintiffs or Opt-In Plaintiffs do not have a signed agreement:

            Kimberly Drake
            Gina Delanay
            Emma Jacinthe
            Nadege Joseph
            Samantha Mondesire
            Quamea Richards
            Lateechia Rule
            Regine Desire
            Yola Joseth




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  Second, all Plaintiffs and Opt-In Plaintiffs, are entitled to their individual wage and hour records,

  pursuant to 29 U.S.C. §211. This obligation to provide wage and hour records to current and/or

  former employees who request them is an obligation that exists outside of the discovery process,

  and Defendants should provide those records to Plaintiffs and the Opt-In Plaintiffs even if this

  Court agrees to stay discovery and pretrial deadlines pending the resolution of Defendants’ request

  for arbitration. Plaintiffs have requested these records from Defendants to no avail.

         Regardless of whether this case remains in federal court or if this Court compels the cases

  to arbitration, Defendants will be required to provide those wage and hour records. Therefore,

  requiring Defendants to provide those records will not cause the parties to incur any costs or

  expend any resources that are not otherwise inevitable.

         Similarly, allowing Plaintiffs and the Opt-In Plaintiffs to receive and review their records

  will allow them to amend their Statements of Claim (DE 14), or draft a detailed demand for

  arbitration, promptly after this Court rules on the request to compel arbitration. This serves the

  legal system’s interest in efficiency, particularly in FLSA cases where this district requires the

  parties to show that a case is “uniquely complex” to justify not being on an expedited track. See,

  Order Requiring Discovery and Scheduling Conference, Order Requiring Statement of Claim and

  Response in FLSA Case, and Order Referring Discovery Matters to the Magistrate Judge (DE 4).

         Having these records will also allow the Plaintiffs to calculate damages and exhaust

  settlement opportunities further furthering judicial economy.

         Plaintiffs and the Opt-In Plaintiffs therefore respectfully request that this Court order

  Defendants’ to provide the wage and hour records for each Plaintiff and Opt-In Plaintiff separately,

  and in addition to, any stay of the proceedings that this Court orders.



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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served by
  electronic filing on January 6, 2023 on all counsel or parties of record on the Service List below.


                                                         s/Gabriel T. Roberts
                                                         Gabriel “Gabe” T. Roberts, Esq.
                                                         Florida Bar No. 1018435
                                                         Primary e-mail: GRoberts@scottlawteam.com
                                                         Secondary e-mail: mail@scottlawteam.com
                                                         Cathleen Scott, Esq.
                                                         Florida Bar Number 135331
                                                         Primary e-mail: CScott@scottlawteam.com
                                                         Secondary e-mail: mail@scottlawteam.com
                                                         SCOTT LAW TEAM, LLC
                                                         Jupiter Gardens
                                                         250 South Central Boulevard
                                                         Suite 104-A
                                                         Jupiter, FL 33458
                                                         Telephone: (561) 653-0008
                                                         Facsimile: (561) 653-0020
                                                         Secondary Address: 101 Northpoint Parkway
                                                         West Palm Beach, FL 33407
                                                         www.ScottLawTeam.com

                                                         Andrew Obeidy, Esq.
                                                         Florida Bar No. 910341
                                                         Email: andrew@obdlegal.com
                                                         Obeidy & Associates, P.A.
                                                         2755 E. Oakland Park Boulevard
                                                         Suite 225
                                                         Fort Lauderdale, FL 33306
                                                         Telephone: (305)892-5454
                                                         Facsimile: (954)206-6955

                                                         Attorneys for Plaintiffs




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                                       SERVICE LIST
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  Andrew M. McKinley, Esq.
  Florida Bar No. 122069
  SEYFARTH SHAW LLP
  1075 Peachtree Street, N.E.
  Suite 2500
  Atlanta, GA 30309-3958
  Telephone: (404) 885-1500
  Facsimile: (404) 892-7056
  amckinley@seyfarth.com
  Attorney for Defendant Nomi Health, Inc. and MedX Staffing, Inc.




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